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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

JOSE M. HOLGUIN                                      §                        CIVIL ACTION NO.
                  Plaintiff,                         §
vs.                                                  §                                   5: 16-cv-350
                                                     §
STATE FARM LLOYDS                                    §
AND RICARDO ALVARADO                                 §
                  Defendants                         §                        JURY REQUESTED


                                STIPULA TION OF DISMISSAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to Federal Rules of C ivil Procedure 41 (a)(I )(ii), Plaintiff, Jose M. Holguin , and

Defendant State Fam1 L1oyds, file this Stipulation of Di smissal because al ll11atters in controversy

have been reso lved between the parties. Defendant Ricardo Alvarado was not served and has not

made an appearance in this matter. The parties respectfully request that the Court dismiss this case

with prejudice.

                         25Th
        Dated this the _ _ day of
                                       ('1/1 Cu.
                                      I r l 1 . , 2017.

                                               Respectfully subm itted,


                                               By:   ~(l
                                                       ,--:--=-----.!r-=-------:-:--
                                                                                _ _ __
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                                                     Federal Bar No. 249539
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Case 5:16-cv-00350 Document 18 Filed in TXSD on 05/25/17 Page 2 of 3



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    Case 5:16-cv-00350 Document 18 Filed in TXSD on 05/25/17 Page 3 of 3



                               CERTIFICA TE OF SERVICE



       On the 25 th day of May, 2017 , the foregoing document was served in compliance with the
Federal Rules of Civil Procedure to the following:

       Robert A. Pollom
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